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                                 133004




                     UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA


   IN RE: Cook IVC Filters                      Civil No. 1:14-ml-2570
   Products Liability Litigation
                                                NOTICE OF WITHDRAWAL AND
                                                SUBSTITUTION OF COUNSEL

   This Document Relates to:

          All Actions listed in Exhibit A attached hereto.



           PLEASE TAKE NOTICE that, pursuant to Rule 83-7(c) of the Local Rules of the
   United States District Court for the Southern District of Indiana, the undersigned attorney
   hereby notifies the Court that Don K. Ledgard is no longer with the firm Capretz &
   Associates and is withdrawing his appearance of all Plaintiffs in Exhibit A and counsel
   Julie Lim, of Capretz & Associates hereby gives her appearance as counsel in connection
   with the above-referenced action. It is respectfully requested that Julie Lim replace Don
   K. Ledgard as attorney of record for Plaintiffs.


   Dated: __August 20, 2022_____                /s/ Julie Lim_______________________
                                                Julie Lim, Esq.
                                                CAPRETZ & ASSOCIATES
                                                4667 MacArthur Blvd., Suite 310
                                                Newport Beach, CA 92660
                                                Telephone: (949) 724-3000
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                                                julie@capretz.com
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                              CERTIFICATE OF SERVICE

          I hereby certify that on August 20, 2022, the foregoing NOTICE OF

   WITHDRAWAL AND SUBSTITUION OF COUNSEL was filed electronically by using

   the CM/ECF system which will deliver the document to all counsel of record.



   Date: August 20, 2022                      Respectfully submitted by:
                                              /s/ Julie Lim______________________
                                              Julie Lim, Esq.
                                              CAPRETZ & ASSOCIATES
                                              4667 MacArthur Blvd., Suite 310
                                              Newport Beach, CA 92660
                                              Telephone: (949) 724-3000
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                                       EXHIBIT A

   Peter Alfaro v. Cook IVC Filters        1:18-cv-620

   Denise Ybarra v. Cook IVC Filters       1:17-cv-3890
